JS 44 (Rev. 4-29-21                             CIVIL 1-1
                           Case 1:24-cv-03037 Document COVER
                                                          Filed SHEET
                                                                04/23/24 Page 1 of 2 PageID #: 17
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
            CALEEL+HAYDEN, LLC d/b/a )
            GLO SKIN BEAUTY                                                                                  LY BERDITCHEV CORP.
     (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

     (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

            K&L Gates LLP, Thomas A. Warns, 599 Lexington
            Avenue, New York, NY 10022, 212-536-3900

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
     1   U.S. Government                ✖ 3   Federal Question                                                                   PTF         DEF                                        PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                     Citizen of This State            1           1     Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

   2 U.S. Government              4 Diversity                                                     Citizen of Another State             2         2   Incorporated and Principal Place           5         5
         Defendant                     (Indicate Citizenship of Parties in Item III)
___________________________________________________________________________                                                                            of Business In Another State
    Does this action include a motion for temporary restraining order or order                    Citizen or Subject of a              3         3   Foreign Nation                             6         6
    to show cause? Yes___ No___”                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
            CONTRACT                                                TORTS                             FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
     110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
     120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
     130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                       3729(a))
     140 Negotiable Instrument                Liability                  367 Health Care/                                                                                   400 State Reapportionment
     150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                              PROPERTY RIGHTS                    410 Antitrust
         & Enforcement of Judgment            Slander                        Personal Injury                                              820 Copyrights                    430 Banks and Banking
     151 Medicare Act                    330 Federal Employers’              Product Liability                                            830 Patent                        450 Commerce
     152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                            835 Patent - Abbreviated          460 Deportation
          Student Loans                  340 Marine                          Injury Product                                                   New Drug Application          470 Racketeer Influenced and
          (Excludes Veterans)            345 Marine Product                  Liability                                                 ✖ 840 Trademark                          Corrupt Organizations
     153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                      880 Defend Trade Secrets          480 Consumer Credit
         of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                Act of 2016                       (15 USC 1681 or 1692)
     160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                               485 Telephone Consumer
     190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                      Protection Act
     195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
     196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                         362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                             Medical Malpractice                                          Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
         REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
     210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                               893 Environmental Matters
     220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
     230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff            Act
     240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)               896 Arbitration
     245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party              899 Administrative Procedure
     290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                             Employment                  Other:                       462 Naturalization Application                                            Agency Decision
                                         446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                 950 Constitutionality of
                                             Other                       550 Civil Rights                 Actions                                                               State Statutes
                                         448 Education                   555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖    1 Original             2 Removed from                     3      Remanded from            4 Reinstated or              5 Transferred from       6 Multidistrict                    8 Multidistrict
       Proceeding             State Court                             Appellate Court            Reopened                     Another District           Litigation -                     Litigation -
                                                                                                                              (specify)                  Transfer                         Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Lanham Act, 15 U.S.C. § 1051
VI. CAUSE OF ACTION Brief description of cause:
                                           defendant has engaged in trademark infringement, unfair competition, and false advertising
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                               $2,000,000.00                              JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                              (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
 April 23, 2024                                                                 /s/ Thomas A. Warns
FOR OFFICE USE ONLY

     RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                            MAG. JUDGE
                                 CERTIFICATION
                     Case 1:24-cv-03037 DocumentOF
                                                1-1ARBITRATION
                                                    Filed 04/23/24 ELIGIBILITY
                                                                    Page 2 of 2 PageID #: 18
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

I, __________________________________________,
    Thomas A. Warns                                 counsel for____________________________,
                                                                     Plaintiff               do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

          ✔             monetary damages sought are in excess of $150,000, exclusive of interest and costs,
          ✔             the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

Plaintiff Caleel+Hayden, LLC ) is a wholly owned subsidiary of GloProfessional Holdings, which is
majority owned by Swander Pace Capital


                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”


                                       NY-E DIVISION OF BUSINESS RULE 1(c)
1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes         ✔    No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes         ✔     No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?          ✔    Yes               No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
                              Yes       ✔       No
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                          ✔                  Yes                                                          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                  ✔         No




            I certify the accuracy of all information provided above.

                         /s/ Thomas A. Warns
            Signature: ____________________________________________________
                                                                                                                                                                       Last Modified: 11/27/2017
